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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                       CENTRAL DIVISION at LEXINGTON

                                       )
                                       )            MDL No. 1877
                                       )
IN RE CLASSICSTAR MARE LEASE           )            Master File:
LITIGATION                             ) Civil Action No. 5:07-cv-353-JMH
                                       )
                                       )         Civil Action Nos.
                                       )         5:06-CV-00243-JMH
                                       )         5:07-CV-00347-JMH
                                       )         5:07-CV-00348-JMH
                                       )         5:07-CV-00349-JMH
                                       )         5:07-CV-00351-JMH
                                       )         5:07-CV-00352-JMH
                                       )         5:07-CV-00419-JMH
                                       )         5:08-CV-00017-JMH
                                       )         5:08-CV-00053-JMH
                                       )         5:08-CV-00074-JMH
                                       )         5:08-CV-00079-JMH
                                       )         5:08-CV-00104-JMH
                                       )         5:08-CV-00109-JMH
                                       )         5:08-CV-00321-JMH
                                       )         5:08-CV-00418-JMH
                                       )         5:08-CV-00487-JMH
                                       )         5:08-CV-00496-JMH
                                       )         5:09-CV-00015-JMH

                       MEMORANDUM OPINION AND ORDER

                                 *** *** ***

      This   matter    is   before   the   Court   upon   Defendant    GeoStar

Corporation’s (hereinafter, “GeoStar”) Motion for Protective Order

[Lexington     Civil    Action   No.   07-353-JMH,     Record    No.   1005].1

      1
      See also Lexington Civil Action No. 06-243-JMH, Record No.
367; Lexington Civil Action No. 07-347-JMH, Record No. 137;
Lexington Civil Action No. 07-348-JMH, Record No. 148; Lexington
Civil Action No. 07-349-JMH, Record No. 161; Lexington Civil
Action No. 07-351-JMH, Record No. 62; Lexington Civil Action No.
07-352-JMH, Record No. 75; Lexington Civil Action No. 07-419-JMH,
Record No. 113; Lexington Civil Action No. 08-17-JMH, Record No.
40; Lexington Civil Action No. 08-53-JMH, Record No. 196;
Lexington Civil Action No. 08-74-JMH, Record No. 39; Lexington
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Plaintiffs        West   Hills   Farms,    LLC,    Arbor   Farms,   LLC,   Nelson

Breeders, LLC, MacDonald Stables, LLC, and Jaswinder and Monica

Grover (hereinafter, “West Hills Plaintiffs”) [Lexington Civil

Action No. 07-353-JMH, Record No. 1009; Lexington Civil Action No.

06-243-JMH, Record No. 370] and Plaintiffs Peter Fortenbaugh and

Betty Lee, individually and in their capacity as the Trustees of

the       Peter     Fortenbaugh     Trust         (hereinafter,     “Fortenbaugh

Plaintiffs”)2 [Lexington Civil Action No. 07-353-JMH, Record No.

1010; Lexington Civil Action No. 08-496-JMH, Record No. 80],

Plaintiffs AA-J Breeding, LLC, Su-Sim, LLC, Derby Stakes, LLC, Uri

Halfon,      and    Ora    Oli    Halfon    (hereinafter,      “AA-J   Breeding




Civil Action No. 08-79-JMH, Record No. 52; Lexington Civil Action
No. 08-104-JMH, Record No. 33; Lexington Civil Action No. 08-109-
JMH, Record No. 120; Lexington Civil Action No. 08-321-JMH,
Record No. 110; Lexington Civil Action No. 08-418-JMH, Record No.
27; Lexington Civil Action No. 08-487-JMH, Record No. 40;
Lexington Civil Action No. 08-496-JMH, Record No. 78; and
Lexington Civil Action No. 09-15-JMH, Record No. 65.
      2
      The Fortenbaugh Plaintiffs have joined in the West Hills
Plaintiffs’ Response, but also state their own response with
regard to GeoStar’s statement that “[to the extent that any party
is not prepared to participate in the deposition of GeoStar at
this time, and to the extent of unobjectionable topics, that
party should understand that one of the consequences of going
forward now is that there will not be an opportunity to ask other
questions later.”   [Motion for Protective Order at 2.] The
Fortenbaugh Plaintiffs argue that, whether or not the deponent
designated to testify on behalf of GeoStar Corporation may have
knowledge of and testify about the activities about one or more
of its subsidiaries and affiliates, such subsidiaries and
affiliates may not on this basis refuse to provide future
testimony pursuant to Fed. R. Civ. P. 30(b)(6) on the same or
related topics. The Court agrees.
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Plaintiffs”)3 [Lexington Civil Action No. 07-353-JMH, Record No.

1011;       Lexington   Civil   Action   No.   08-79-JMH,   Record   No.   54],

Plaintiffs Leo and Jean Hertzog and J&L Canterbury Farms, LLC

(hereinafter, “Hertzog Plaintiffs)4 [Lexington Civil Action No. 07-

353-JMH, Record No. 1012; Lexington Civil Action No. 07-349-JMH,

Record No. 163], and Plaintiffs John and Dana Goyak, John Goyak &

Associates, Inc., and Jupiter Ranches, LLC (hereinafter, “Goyak



        3
      The AA-J Breeding Plaintiffs join in the Responses filed by
the West Hills Plaintiffs and the Fortenbaugh Plaintiffs.
        4
      In their late-filed (by 28 minutes and 13 seconds)
Response, the Hertzog Plaintiffs join in the Response filed by
the West Hills Plaintiffs and further seeks to state their
specific response to GeoStar’s objection to their supplemental
topics to be addressed at deposition. [See Lexington Civil
Action No. 07-353-JMH, Record No. 1006 (requiring any response to
GeoStar’s Motion for Protective Order to be filed no later than
9:00 a.m. on May 12, 2009).] Specifically, the Hertzog
Plaintiffs argue that the Motion should be denied for GeoStar
Corporation’s failure to confer and attach a certification of
that conference with counsel for the Hertzogs, as required by
Local Rule 37.1, in an effort to resolve any dispute over their
efforts to add topics to the Notice on May 6, 2009. Considering
that Defendant GeoStar Corporation was made aware of these
additional topics on May 6, 2009 (at 6:14 p.m., if the email
header in the email communicating those topics to counsel for
GeoStar is to be believed), the Court will forgive that failure
in this instance.
     The Hertzog Plaintiffs also state that, to the extent that
the supplemental topics are late-breaking, their counsel was not
consulted nor was any effort made to coordinate the scheduling of
this deposition with the Hertzogs, although the Court notes that
Hon. Catherine Sakach’s name and email address
(csakach@duanemorris.com) are included on the certificate of
service for Plaintiffs’ Rule 30(b)(6) Notice of Taking of
Deposition of Defendant Geostar Corporation, indicating that she
was served, and, thus, the Hertzog Plaintiffs have had since
April 21, 2009, to state any objections to the planned deposition
or to add topics to the list to be addressed.
     The Court shall not, thus, deny GeoStar Corporation’s motion
on any of these grounds.
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Plaintiffs”)5 [Lexington Civil Action No. 07-353-JMH, Record No.

1014; Lexington Civil Action No. 08-53-JMH, Record No. 198; see

also duplicate filing of Response at Lexington Civil Action No. 07-

353-JMH, Record No. 1015], have responded.             GeoStar has filed a

Reply in further support of its motion [Lexington Civil Action No.

07-353-JMH, Record No. 1016].

I.    BACKGROUND

      On April 21, 2009, Plaintiffs served a Rule 30(b)(6) Notice of

Deposition of Taking Deposition of Defendant Geostar Corp. on the

parties to these actions, to take place on May 13, 14, and 15,

2009, in Lexington, Kentucky.6        The Notice identifies 39 topics of

testimony, including 46 separate sub-parts, which are set forth in

the exhibits to GeoStar’s Motion.          Defendant GeoStar now seeks a

protective order in advance of the scheduled deposition.

II.   DISCUSSION



      5
      In their late-filed (by one hour, 35 minutes, and 20
seconds) Response, the Goyak Plaintiffs join in the West Hills
Plaintiffs’ Response. [See Lexington Civil Action No. 07-353-JMH,
Record No. 1006 (requiring any response to GeoStar’s Motion for
Protective Order to be filed no later than 9:00 a.m. on May 12,
2009).]
      6
        The Court notes that GeoStar waited until approximately
5:50 p.m., on Friday, May 8, 2009, i.e., after the close of
business, to file the Motion for Protective Order which is at
bar. Notwithstanding that GeoStar was obligated to take the time
to confer with the other affected parties, evidence of which is
attached to the Motion as exhibits, the Court wonders that
GeoStar was unable to raise the issues addressed in its Motion to
the Court’s attention until seventeen days had passed from
service of the Notice, particularly knowing how little time would
then remain for the resolution of the issues raised in advance of
the scheduled deposition.
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      In its Motion, GeoStar raises a number of objections to

Plaintiffs’ 30(b)(6) Notice, complaining that it is unfair to

require of it a designee who can provide all information regarding

GeoStar from incorporation to the present, testify about the

operations,    motivations,     and   reasoning    behind   the   actions    of

Defendant ClassicStar, LLC, First Source Wyoming, Inc., and perhaps

other companies, and numerous other topics.7             GeoStar objects to

the vagueness of the topics to be covered at the deposition, the

request that it authenticate documents that were not part of its

production, the request for testimony on the present financial

state and whereabouts of assets for itself and its subsidiaries,

the length of the scheduled deposition, and the last minute

addition of topics for the deposition.            The Court has considered

each of GeoStar’s arguments, in turn, and shall grant its motion in

part and deny its motion in part, as follows.

      As an initial matter, GeoStar takes the position that it is

somehow unfair to require it to prepare and present a witness or

multiple witnesses at a deposition under Fed. R. Civ. P. 30(b)(6)

where some potential witnesses have raised the privilege against

self-incrimination under the Fifth Amendment and where the topics

are so broad ranging as to effectively require the preparation of



      7
      In advance of filing its Motion, GeoStar certifies that it
made its objections to the Notice to counsel for the West Hills
Plaintiffs, conferred with Plaintiffs’ liaison counsel (also
counsel for the West Hills Plaintiffs) regarding those
objections, and has reviewed Plaintiff’s written response to its
objections.
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multiple witnesses for presentation in the course of the scheduled

deposition.8         These objections are without merit.

        A party which intends to assert claims and defenses in

litigation must adequately prepare an individual to testify as to

those       claims    and    defenses,     which    duty    “goes    beyond    matters

personally known to that designee or to matters in which that

designee was personally involved.”                 United States v. Taylor, 166

F.R.D. 356, 361 (M.D.N.C. 1996) (role of designee is to present

corporation’s         “position”     on    topics,       including   the   subjective

beliefs and opinions of the corporation; burden of preparing

witness able to do so accompanies privilege of conducting business

in corporate form). That some employees and agents have asserted

their       right    not    to   testify   does    not    relieve    GeoStar   of   its



        8
        GeoStar has also generally and without any reasoning
objected to preparing a designee to testify as to certain topics
as as “unreasonably vague,” including “inventory of thoroughbred
mares owned by ClassicStar,” the purchase price of those mares,
the financial statements of GeoStar and ClassicStar, tax returns
of GeoStar, Gastar, and ClassicStar, cash transfers from
ClassicStar to GeoStar or its affiliates, and value paid by
Geostar in exchange for those transfers, and GeoStar’s
relationship (through 2005) with Gastar. The Court is not
persuaded that these topics are unreasonably vague, considering
that it is alleged that GeoStar had knowledge of this information
or prepared or had some hand in preparing these materials or
played some role in the action described. The Rule requires that
the party identify the requested topics with “reasonable
particularity” and that the deponent exercise reasonable judgment
in responding to the designation – the party issuing the notice
need not identify every question it will ask. The Court agrees
with Plaintiffs that it is disingenuous for GeoStar to suggest
that it cannot prepare a witness based on the designations of
topics which concern the financial relationships between itself,
ClassicStar, and GeoStar’s other subsidiaries.
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obligation    to   produce      a    designee      to    comment    on   information

reasonably known to the defendant, including information gleaned

from GeoStar’s correspondence, contracts, organizational charts,

payroll, or other corporate records and from any other records

available to GeoStar.           See Spring Communications Co., L.P. v.

Theglobe.com, Inc., 236 F.R.D. 524, 528 (D.Kan. 2006) (party

responding to 30(b)(6) notice must review all materials known or

reasonably available to it, including, if need be, prior deposition

testimony, documents and deposition exhibits; “personal knowledge

of the designated subject matter by the selected deponent is of no

consequence”); Taylor, 166 F.R.D. at 361 (death or dismissal of

employees with knowledge of particular events does not excuse

corporation from obligation to prepare designee through use of

documents, past employees or other sources); Security Ins. Co. of

Hartford v. Trustmark Ins. Co., 218 F.R.D. 29, 35 (D.Conn. 2003)

(“corporate representative was obliged to gain some understanding

of the underlying facts, regardless of the source identifying the

underlying facts, and to answer questions accordingly.”). Further,

GeoStar has no absolute right to produce only one Rule 30(b)(6)

designee on this occasion to deal with essentially all substantive

issues in this case.       Spring, 236 F.R.D. at 528 (corporation must

produce    whatever    number       of   persons     necessary      to   satisfy   the

request); Poole v. Textron, Inc., 192 F.R.D. 494, 504 (D.Md. 2000)

(corporation     may   have   obligation        to      designate   more   than    one

individual to respond properly to notice).                 GeoStar’s motion shall
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be denied in this regard.

      Next, Geostar cannot be excused from preparing a designee or

designees as to matters related to its wholly owned and controlled

subsidiaries       to   the    extent     that    it     has   knowledge    of   those

subsidiaries.      Plaintiffs cite to the fact that GeoStar maintained

the corporate books and records for several of its subsidiaries in

its own offices during the entire period of its control and, in

most instances, certain subsidiaries had no separate employees, and

Geostar controlled and also performed all functions of certain

subsidiaries. In such instances and in response to a Rule 30(b)(6)

notice, corporations have an obligation to inquire into materials

in the possession of their subsidiaries and to use those materials

to prepare a designee.          See Murphy v. Kmart Corp., 244 F.R.D. 407

(D.S.D.    2009)    (parent     corporation        with    sufficient      access   and

control charged with knowledge of parent and sister corporations

for purposes of deposition); S.C. Johnson & Son, Inc. v. Dial

Corp., 2008 U.S. Dist. LEXIS 76320 (N.D. Ill. Sept. 10, 2008)

(parent had to produce witness to testify as to knowledge of its

subsidiary      when    parent,    as      a     practical     matter,     controlled

subsidiary and subsidiary’s information was “reasonably available”

to parent); Twentieth Century Fox Film Corp. v. Marvel Enters.,

Inc.,    2002   U.S.    Dist.     LEXIS    14682       (S.D.N.Y.    Aug.    6,   2002)

(corporation must produce witness prepared to testify on basis of

knowledge in hands of its subsidiaries and affiliates so long as

the     subsidiaries     and     affiliates        are     within   its     control).
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Accordingly, the Court will deny GeoStar’s motion in this regard.

      Next, a Rule 30(b)(6) designee must review all available

sources of information, including those identified from other

productions.     See Sprint, 236 F.R.D. at 528 (designee must review

all available sources of information); Taylor, 166 F.R.D. at 361

(corporate     designee      responsible    for    providing       corporation’s

interpretation of relevant documents and events). Certainly, there

may   be   documents    on    that   list   that   no   one   at    GeoStar    can

authenticate, which will come to light during the deposition, but

GeoStar has an obligation to produce a corporate designee that can

authenticate those documents (whether they were produced by GeoStar

during the course of discovery in this matter or not) if such a

person exists.9

      GeoStar next objects to presenting a designee to testify

regarding GeoStar’s present financial condition and the present

location of its assets (Topic 32) because that information is not

discoverable prior to judgment and is not an appropriate focus of

pre-judgment discovery under Fed. R. Civ. P. 26.                      GeoStar’s

position is understood by the Court and this argument is well-

taken.     GeoStar’s motion shall be granted in this regard.

      GeoStar also objects to the length of time –                 three days –

set   aside   for   this     deposition,    on    the   grounds    that   it   was


      9
        The Court agrees with the West Hills Plaintiffs
suggestion that, to the extent that it is possible, GeoStar might
stipulate to the authenticity of at least some of those
documents, reducing the burden placed on its designee or
designees during the deposition.
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 originally agreed that the three day deposition would be for both

 GeoStar and one of its subsidiary’s (First Source Wyoming, Inc.)

 designees. The West Hills Plaintiffs have indicated that there was

 never any such agreement.10        Nonetheless, GeoStar’s objection is

 ultimately grounded in the fact that prior 30(b)(6) depositions in

 this case have been scheduled for two days. Considering the amount

 of information that is sought and what may be numerous designees

 that will be required to testify on behalf of GeoStar, in order to

 cover the topics set forth in the Notice, three days does not seem

 an excessive allotment of time for the deposition of GeoStar.

 Accordingly, the Court will deny GeoStar’s motion for a protective

 order in this regard.

       Finally, GeoStar objects to the addition of topics to the

 Notice four business days prior to the deposition.            In considering

 this issue, the Court has reviewed the additional topics (numbered

 40 through 44), requested by Hon. Catherine Sakach on behalf of the

 Hertzog Defendants, in her email message dated May 6, 2009, and

 notes that the topics included in the list are already contemplated

 by the April 21, 2009, Notice of Deposition.          The Court offers the

 following examples, which are not meant to be exhaustive.              Topics

 40 and 42 appear to the Court to have been contemplated by 37 and

 39.    Topic 41 appears to be contemplated by any number of the

 original topics, for example 8, 9, or 23.          Topic 44 appears to the


       10
       In fact, the Notice clearly indicates that Plaintiffs seek
 the deposition of a GeoStar designee that can speak to the
 corporation’s knowledge as to First Source Wyoming issues.
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 Court to be contemplated by 35.          Topic 43, concerning GeoStar’s

 ownership of ClassicStar mare lease interests and communications

 with ClassicStar about that ownership, is not so easily placed

 directly under the umbrella of any one or a series of the original

 topics.     That said, the Court is not willing to say at this time

 that questioning on these issues was not anticipated by any of the

 original topics presented in the Notice which touch extensively on

 GeoStar’s knowledge and actions with regard to the mare lease

 program and its relationship with ClassicStar.             Accordingly, the

 Court declines to exclude questions on these issues as the subject

 of the scheduled deposition.

       Accordingly, IT IS ORDERED:

       (1)   that the Goyak Plaintiffs’ Motion for Joinder [Lexington

 Civil Action No. 07-353-JMH, Record No. 1014; Lexington Civil

 Action No. 08-53-JMH, Record No. 198], shall be, and the same

 hereby is, GRANTED;

       (2)   that the duplicate Motion for Joinder filed by the Goyak

 Plaintiffs [Lexington Civil Action No. 07-353-JMH, Record No. 1015]

 shall be, and the same hereby is, DENIED AS MOOT;

       (3)   that   Defendant     GeoStar    Corporation’s      (hereinafter,

 “GeoStar”) Motion for Protective Order [Lexington Civil Action No.

 07-353-JMH, Record No. 1005]11 shall be, and the same hereby is,

       11
       See also Lexington Civil Action No. 06-243-JMH, Record No.
 367; Lexington Civil Action No. 07-347-JMH, Record No. 137;
 Lexington Civil Action No. 07-348-JMH, Record No. 148; Lexington
 Civil Action No. 07-349-JMH, Record No. 161; Lexington Civil
 Action No. 07-351-JMH, Record No. 62; Lexington Civil Action No.
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 GRANTED IN PART and DENIED IN PART; and

       (4)    that GeoStar shall have no obligation to provide a

 designee informed of GeoStar’s current financial condition and the

 current     location   of   its   assets   as   requested   by   Topic   32   of

 Plaintiff’s April 21, 2009, Rule 30(b)(6) Notice of Taking of

 Deposition of Defendant GeoStar Corp;

       (5)    that this order does not relieve GeoStar of any other

 discovery obligation arising under the Rules, this Court’s prior

 orders, and as a result of Plaintiff’s 30(b)(6) Notice.

       This the 12th day of May, 2009.




 07-352-JMH, Record No. 75; Lexington Civil Action No. 07-419-JMH,
 Record No. 113; Lexington Civil Action No. 08-17-JMH, Record No.
 40; Lexington Civil Action No. 08-53-JMH, Record No. 196;
 Lexington Civil Action No. 08-74-JMH, Record No. 39; Lexington
 Civil Action No. 08-79-JMH, Record No. 52; Lexington Civil Action
 No. 08-104-JMH, Record No. 33; Lexington Civil Action No. 08-109-
 JMH, Record No. 120; Lexington Civil Action No. 08-321-JMH,
 Record No. 110; Lexington Civil Action No. 08-418-JMH, Record No.
 27; Lexington Civil Action No. 08-487-JMH, Record No. 40;
 Lexington Civil Action No. 08-496-JMH, Record No. 78; and
 Lexington Civil Action No. 09-15-JMH, Record No. 65.
